       Case 3:15-cv-05557-RS Document 29 Filed 02/25/16 Page 1 of 4


 1   HOBSON, BERNARDINO & DAVIS LLP
     RAFAEL BERNARDINO, JR.
 2   rbernardino@hbdlegal.com
     JASON A. HOBSON
 3   jhobson@hbdlegal.com
     725 South Figueroa Street, Suite 3230
 4   Los Angeles, CA 90017
     Telephone: (213) 235-9190
 5   Fax: (213) 235-9197

 6   Attorneys for Plaintiff and the Proposed Class
     (Additional Counsel on next page)
 7

 8   GLYNN & FINLEY, LLP
     ADAM FRIEDENBERG, Bar No. 205778
 9   afriedenberg@glynnfinley.com
     ROBERT C. PHELPS, Bar No. 106666
10   bphelps@glynnfinley.com
     LAUREN E. WOOD, Bar No. 280096
11   lwood@glynnfinley.com
     One Walnut Creek Center
12   100 Pringle Avenue, Suite 500
     Walnut Creek, CA 94596
13   Telephone: (925) 210-2800
     Facsimile: (925) 945-1975
14
     Attorneys for Defendants
15   Valero Energy Corporation and
     Valero Marketing and Supply Company
16

17                               UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19
                                    )                 Case No. 3:15-cv-05557-RS
20   FAITH BAUTISTA, Individually and on
                                    )
     Behalf of All Others Similarly Situated,
                                    )                 JOINT STIPULATION OF DISMISSAL
21                                  )                 OF DEFENDANT VALERO ENERGY
                    Plaintiff,      )                 CORPORATION WITHOUT
22                                  )                 PREJUDICE
         vs.                        )
23                                  )
     VALERO ENERGY CORPORATION, CST )
24   BRANDS, INC., VALERO MARKETING )
     AND SUPPLY COMPANY and CST     )
25   MARKETING AND SUPPLY COMPANY, )
                                    )
26                  Defendants.     )
                                    )
27

28
                                         -1-
            JOINT STIPULATION OF DISMISSAL OF DEFENDANT VALERO ENERGY
                          CORPORATION WITHOUT PREJUDICE
       Case 3:15-cv-05557-RS Document 29 Filed 02/25/16 Page 2 of 4


 1   Additional Counsel for Plaintiff and the Proposed Class
 2   ROBBINS GELLER RUDMAN & DOWD LLP
     PATRICK W. DANIELS (190715)
 3   patrickd@rgrdlaw.com
     655 West Broadway, Suite 1900
 4   San Diego, CA 92101
     Telephone: (619) 231-1058
 5   Fax: (619) 231-7423
 6   ROBBINS GELLER RUDMAN & DOWD LLP
     STUART A. DAVIDSON (Florida Bar No. 84824)
 7   sdavidson@rgrdlaw.com
     (Appearing Pro Hac Vice)
 8   CHRISTOPHER C. MARTINS
     cmartins@rgrdlaw.com
 9   (Appearing Pro Hac Vice)
     120 East Palmetto Park Road, Suite 500
10   Boca Raton, FL 33432
     Telephone: (561) 750-3000
11   Fax: (561) 750-3364
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                         -2-
            JOINT STIPULATION OF DISMISSAL OF DEFENDANT VALERO ENERGY
                          CORPORATION WITHOUT PREJUDICE
        Case 3:15-cv-05557-RS Document 29 Filed 02/25/16 Page 3 of 4


 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that Plaintiff, Faith Bautista, Individually and on Behalf of All

 3   Others Similarly Situated, and Defendant Valero Energy Corporation, by and through their

 4   respective counsel, hereby stipulate to the voluntary dismissal, without prejudice, of Defendant

 5   Valero Energy Corporation, with each party to bear their own attorneys’ fees and costs. As

 6   Defendant Valero Energy Corporation has yet to appear or otherwise respond to the complaint,

 7   dismissal is pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

 8

 9          IT IS SO STIPULATED.

10                                                        Respectfully submitted,

11          Dated: February 25, 2016
                                                          ROBBINS GELLER RUDMAN
12                                                          & DOWD LLP
                                                          STUART A. DAVIDSON
13                                                        (Appearing Pro Hac Vice)
                                                          MARK J. DEARMAN
14                                                        CHRISTOPHER C. MARTINS
15
                                                          By    /s/ Stuart A. Davidson
16                                                          Attorneys for Plaintiff and the Proposed
                                                            Class
17

18          Dated: February 25, 2016
                                                          GLYNN & FINLEY, LLP
19                                                        ADAM FRIEDENBERG
                                                          ROBERT C. PHELPS
20                                                        LAUREN E. WOOD
21                                                        By    /s/ Adam Friedenberg
                                                            Attorneys for Defendants Valero Energy
22                                                          Corporation and Valero Marketing and
                                                            Supply Company
23

24

25

26

27

28
                                         -3-
            JOINT STIPULATION OF DISMISSAL OF DEFENDANT VALERO ENERGY
                          CORPORATION WITHOUT PREJUDICE
        Case 3:15-cv-05557-RS Document 29 Filed 02/25/16 Page 4 of 4


 1                                           ATTESTATION
 2             I, Adam Friedenberg, am the ECF User whose ID and password are being used to file this

 3   Joint Stipulation of Dismissal of Defendant Valero Energy Corporation Without Prejudice. In

 4   compliance with General Order 45, I hereby attest that Stuart A. Davidson has concurred in this

 5   filing.

 6             Dated: February 25, 2016
                                                          GLYNN & FINLEY, LLP
 7                                                        ADAM FRIEDENBERG
                                                          ROBERT C. PHELPS
 8                                                        LAUREN E. WOOD
 9                                                        By    /s/ Adam Friedenberg
                                                            Attorneys for Defendants Valero Energy
10                                                          Corporation and Valero Marketing and
                                                            Supply Company
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            -4-
               JOINT STIPULATION OF DISMISSAL OF DEFENDANT VALERO ENERGY
                             CORPORATION WITHOUT PREJUDICE
